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                     UNITED STATES DISTRICT COURT

                     EASTERN DISTRICT OF LOUISIANA



JOE HAND PROMOTIONS, INC.                                 CIVIL ACTION

v.                                                        NO. 16-16844

DML, LLC d/b/a LIUZZA’S                                   SECTION "F"
SPORTS BAR a/k/a DAVIE LIUZZA’S
SPORTS BAR, DAVID M. LIUZZA


                            ORDER AND REASONS

      Local Rule 7.5 of the Eastern District of Louisiana requires

that memoranda in opposition to a motion be filed eight days prior

to the noticed submission date.      No memoranda in opposition to the

plaintiff’s motion for default judgment against DML, LLC d/b/a

Liuzza’s Sports Bar a/k/a Dave Liuzza’s Sports Bar, noticed for

submission on July 12, 2017, has been submitted.

      Accordingly, because the motion is unopposed, and further, it

appearing to the Court that the motion has merit, 1 IT IS ORDERED:


1    On December 5, 2016, the plaintiff filed its complaint,
complaining of DML’s unauthorized and illegal receipt and
exhibition of the “Ultimate Fighting Championship® 183: Silva v.
Diaz” broadcast on January 31, 2015 at Liuzza’s Sports Bar, a
commercial business, without paying the sublicense fee to the
plaintiff.   The plaintiff has shown entitlement to a default
judgment pursuant to Federal Rule of Civil Procedure 55(b)(2).
More than 21 days have passed since DML, LLC was served with the
summons and complaint; DML has not answered, nor has counsel
entered an appearance on its behalf; and preliminary default was
entered against DML on April 19, 2017.
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that the plaintiff’s motion for entry of default judgment against

DML, LLC is hereby GRANTED as unopposed.



                      New Orleans, Louisiana, July 10, 2017




                                  _____________________________
                                       MARTIN L. C. FELDMAN
                                   UNITED STATES DISTRICT JUDGE




     Turning to damages, the plaintiff elects to recover damages
pursuant to 47 U.S.C. § 605, which allows a plaintiff to recover
statutory damages of up to $10,000 for each violation.       If the
Court finds that the violation of the Communications Act was
willful and for commercial advantage or private gain, the Court
may award additional damages up to $100,000; the Court shall also
award full costs, including reasonable attorney’s fees. Id. The
Court finds that the plaintiff has demonstrated that it is fair
and reasonable to assess against DML and award the plaintiff
statutory damages in the amount of $5,000. The Court also finds
that the defendant’s interception of the encrypted pay-per-view
program in a commercial establishment open to the public is willful
and for financial advantage, and therefore finds that the plaintiff
is entitled to enhanced damages in the amount of $20,000, which
the plaintiff submits and the Court agrees is an amount that will
fairly achieve the statutory goals of restitution and deterrence.
Finally, the plaintiff is entitled to recover reasonable
attorney’s fees upon submission of a fee application.

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